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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

U.S. SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,

v.                                                                 Case No: 8:19-cv-448-T-33CPT

SPARTAN SECURITIES GROUP, LTD.,
ISLAND CAPITAL MANAGEMENT,
CARL E. DILLEY, MICAH J ELDRED and
DAVID D LOPEZ,

       Defendants.


                                   RELATED CASE ORDER
                                  AND TRACK TWO NOTICE
       It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve a

certification as to whether the instant action should be designated as a similar or successive case

pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the attached form Notice of Pendency

of Other Actions.

       It is FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

designated a Track Two case. With the exception of certain types of cases (such as FLSA, ADA,

ERISA, TCPA, and FDCPA, in which a separate scheduling order is filed prior to the Case

Management Hearing), as soon as a responsive pleading is filed, this case will be set for a Case

Management Hearing. Lead Counsel for all parties will be required to appear in person at the

Case Management Hearing. Requests for telephonic appearance at the Case Management Hearing

will not be considered absent extraordinary circumstances.
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       Prior to the Case Management Hearing, Counsel are directed to meet and confer, in person

or by telephone, to complete the Court's Case Management Report. The parties shall utilize the

Case Management Report form located at the Court’s website www.flmd.uscourts.gov under

“District Judges” and under assigned Judge Virginia M. Hernandez Covington, United States

District Judge. Counsel shall bring this completed form to the Case Management Hearing. In

addition, two days prior to the Case Management Hearing, Counsel shall file a Notice advising the

Court of the parties' recommendations, agreed to or otherwise, concerning the deadlines normally

included in the Court's Case Management and Scheduling Order.

       At the Case Management Hearing, Counsel should be prepared to familiarize the Court

with the facts of the case and the parties’ respective positions. Furthermore, Counsel should be

prepared to inform the Court of their choice of a mediator and whether they will consent to

disposition of the case by the assigned Magistrate Judge.

       Please Note:    This is a new form that the parties are required to use.           Unless

otherwise ordered by the Court, a party may not seek discovery from any source before the

meeting. Fed. R. Civ. P. 26 (d); Local Rule 3.05(c)(2)(B). Plaintiff is responsible for serving a

copy of this notice and order with attachments upon each party no later than seven days after

appearance of the party.

       DONE AND ORDERED at Tampa, Florida, this 6th day of March, 2019.




Attachments:
      Notice of Pendency of Other Actions [mandatory form]
      Magistrate Judge Consent / Letter to Counsel
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      Magistrate Judge Consent Form / Entire Case
      Magistrate Judge Consent / Specified Motions

Web Case Management Form: www.flmd.uscourts.gov [mandatory form]
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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

U.S. SECURITIES AND EXCHANGE
COMMISSION,

         Plaintiff,

v.                                                                  Case No: 8:19-cv-448-T-33CPT

SPARTAN SECURITIES GROUP, LTD.,
ISLAND CAPITAL MANAGEMENT,
CARL E. DILLEY, MICAH J ELDRED and
DAVID D LOPEZ,

      Defendants.
______________________________________

                        NOTICE OF PENDENCY OF OTHER ACTIONS
         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____ IS                related to pending or closed civil or criminal case(s) previously filed in this
                        Court, or any other Federal or State court, or administrative agency as
                        indicated below:
                        _______________________________________________________
                        _______________________________________________________
                        _______________________________________________________
                        _______________________________________________________

_____ IS NOT            related to any pending or closed civil or criminal case filed with this Court,
                        or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER ACTIONS
upon each party no later than fourteen days after appearance of the party.


Dated:



_____________________________
Counsel of Record or Pro Se Party
   [Address and Telephone]
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         Case 8:19-cv-00448-VMC-CPT Document 11 Filed 03/06/19 Page 6 of 7 PageID 96

AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                              Middle District of Florida

U.S. SECURITIES AND EXCHANGE COMMISSION                                        )
                                Plaintiff                                      )
                     v.                                                        )      Civil Action No.      8:19-cv-448-T-33CPT
     SPARTAN SECURITIES GROUP, LTD., et al.                                    )
                               Defendants                                      )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
        Case 8:19-cv-00448-VMC-CPT Document 11 Filed 03/06/19 Page 7 of 7 PageID 97
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                            Middle District of Florida

         U.S. SECURITIES AND EXCHANGE
                                                                              )
                  COMMISSION
                                                                              )
                              Plaintiff
                                                                              )
                   v.                                                                 Civil Action No. 8:19-cv-448-T-33CPT
                                                                              )
   SPARTAN SECURITIES GROUP, LTD., et al.
                                                                              )
                            Defendants

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this
authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                  Motions:




           Parties’ printed names                                  Signatures of parties or attorneys                         Dates




                                                                  Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                    District Judge’s signature


                                                                                                     Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
